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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                                   CASE NO.

  JANET PATERNO,

          Plaintiff,

  v.

  CELEBRITY CRUISES INC.,

          Defendant.
                                      /

                            COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff sues Defendant and alleges:

                                    PRELIMINARY ALLEGATIONS

       1. The Plaintiff, JANET PATERNO, is a citizen of New Jersey.

       2. Defendant, CELEBRITY CRUISES INC. (“CELEBRITY”) is a foreign corporation and

  has its principal place of business in Florida.

       3. The matter in controversy exceeds, exclusive of interests and costs, the sum specified by

  28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this matter falls

  under the admiralty and maritime jurisdiction of this Court.

       4. At all times material hereto, Defendant, personally or through an agent:

          a. Operated, conducted, engaged in or carried on a business venture in this state and/or

              county or had an office or agency in this state and/or county;

          b. Was engaged in substantial activity within this state;

          c. Operated vessels in the waters of this state;




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           d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081, 48.181

              or 48.193;

           e. The acts of Defendant set out in this Complaint occurred in whole or in part in this

              county and/or state;

           f. Defendant, as a common carrier, was engaged in the business of providing to the

              public and to Plaintiff in particular, for compensation, vacation cruises aboard the

              vessel Celebrity Infinity.

      5. At all times material hereto, Defendant is subject to the jurisdiction of the Courts of this

  state.

      6. At all times material hereto, the causes of action asserted in this Complaint arise under

  the general maritime law of the United States.

      7. At all times material hereto, Defendant owned, operated, managed, maintained,

  controlled, and/or had exclusive custody of the Celebrity Infinity (“the vessel”).

      8. On or about August 29, 2019, Plaintiff was a paying passenger on the vessel, which was

  in navigable waters.

      9. On or about August 29, 2019, the vessel was anchored off the coast of Kotor,

  Montenegro, and Defendant transported passengers between the vessel and Kotor, Montenegro.

      10. At all times material hereto, Defendant owned, operated, managed, maintained and/or

  controlled the tender boat.

      11. On or about August 29, 2019, passengers, including Plaintiff, were boarding the tender

  boat to be taken to Kotor Montenegro.

      12. As the passengers, including Plaintiff, were boarding the tender boat, the tender boat was

  not steady, and it was moving in varying directions and at varying speeds due to the size of the



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  tender boat, the weather and/or the sea conditions. However, Defendant was not providing

  adequate supervision and/or assistance to passengers boarding the tender boat under such

  conditions.

     13. On or about August 29, 2019, Plaintiff was severely injured when suddenly she fell on

  hidden and/or unmarked step(s) and/or change in level during the transfer between the tender and

  the vessel.

     14. The steps and/or stairs were the same and/or similar color as the flooring surface on the

  vessel, creating a deceiving and dangerous condition. The hidden and/or deceiving unmarked

  step(s) was not open and obvious and the Plaintiff had no way of knowing the existence of the

  hazardous condition.

          COUNT I – NEGLIGENT FAILURE TO WARN AGAINST DEFENDANT

         Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

  one (1) through fourteen (14) as though alleged originally herein.

     15. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

  reasonable care under the circumstances. Applicable to cruise ship tendering operations:

         a. “The extent to which the circumstances surrounding maritime travel are different

                from those encountered in daily life and involve more danger to the passenger, will

                determine how high a degree of care is reasonable in each case.” Rainey v. Paquet

                Cruises, Inc. 709 F.2d 169 (2d Cir. 1983) ; and

         15.b.       “The law is well settled that a carrier that contracts to take a passenger on a

                cruise stopping at a designated foreign port has a duty if the vessel anchors in that

                harbor to provide him with safe transportation, under adequate supervision, to and

                from the dock. Because a passenger cruise ship entices people aboard with the



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             promise of stopovers in exotic ports, the ship owner must see to those passengers’

             safe embarking and disembarking in each such port.” Samulov v. Carnival Cruise

             Lines, Inc. 870 So.2d 853 (Fla. 3d DCA 2004).

     16. At all times material hereto, it was the duty of Defendant to warn passengers (like

  Plaintiff) of dangers that were known, or reasonably should have been known, to Defendant in

  places where passengers (like Plaintiff) are invited to or may reasonably be expected to visit.

     17. On or about August 29, 2019, the Plaintiff was on the gangway near the tender aboard

  Defendant’s vessel, which is a place that Plaintiff was invited to by Defendant and a place

  Defendant reasonably expected Plaintiff to be in during the cruise.

     18. On or about August 29, 2019, Defendant and/or its agents, servants and/or employees

  breached its duty to warn the Plaintiff through the following acts and/or omissions:

         a. Failure to warn the Plaintiff of the dangers of crossing the gangway between the

             tender and the cruise ship; and/or

         b. Failure to adequately warn the Plaintiff of the danger posed by the steps and/or

             change in level between the tender and the vessel; and/or

         c. Failure to warn passengers (including the Plaintiff) of the dangers aboard the tender;

             and/or

         d. Failure to warn passengers (including the Plaintiff) of sudden and/or unexpected

             movement aboard the tender; and/or

         e. Failure to warn the Plaintiff of the risks and/or dangers associated with the tendering

             process, including but not limited to unsteady tender and unmarked steps and/or

             changes in level so that they were readily apparent to the Plaintiff and other

             passengers and not hidden and/or camouflaged; and/or



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         f. Failure to adequately warn the Plaintiff of other trip-and-fall accidents previously

                occurring on the same steps and/or change in level between the tender and the vessel;

                and/or

         g. Failure to warn passengers and the Plaintiff of other accidents during the transfer

                process between the tender and the vessel occurring in the same tendering process

                and/or similar tendering process.

     19. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

  injured because Plaintiff would not have engaged in the unsupervised and hazardous tendering

  process had Defendant and/or its agents, servants and/or employees adequately warned and/or

  communicated the foregoing to the Plaintiff.

     20. At all material times, Defendant had exclusive custody and control of the vessel, and/or

  the tender.

     21. At all times material hereto, Defendant knew of the foregoing dangerous conditions

  causing the Plaintiff’s incident and failed to correct and/or warn the Plaintiff about them, or the

  foregoing dangerous conditions existed for a sufficient length of time so that Defendant, in the

  exercise of reasonable care under the circumstances, should have learned of them and corrected

  and/or warned the Plaintiff about them. Insofar as it relates to conditions that Defendant did not

  create, Defendant’s knowledge was or should have been acquired through prior incident(s)

  and/or through its maintenance and/or inspections of the subject area.

     22. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

  about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

  of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

  incurred medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical



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  handicap. The injuries are permanent or continuing in nature, and Plaintiff will suffer the losses

  and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation,

  cruise, and transportation costs.

           WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law against Defendant and demands trial by jury.

       COUNT II – NEGLIGENT FAILURE TO MAINTAIN AGAINST DEFENDANT

           Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

  one (1) through fourteen (14) as though alleged originally herein.

     23. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

  reasonable care under the circumstances. Applicable to cruise ship tendering operations:

           a. “The extent to which the circumstances surrounding maritime travel are different

                from those encountered in daily life and involve more danger to the passenger, will

                determine how high a degree of care is reasonable in each case.” Rainey v. Paquet

                Cruises, Inc. 709 F.2d 169 (2d Cir. 1983) ; and

           b.    “The law is well settled that a carrier that contracts to take a passenger on a cruise

                stopping at a designated foreign port has a duty if the vessel anchors in that harbor to

                provide him with safe transportation, under adequate supervision, to and from the

                dock. Because a passenger cruise ship entices people aboard with the promise of

                stopovers in exotic ports, the ship owner must see to those passengers’ safe

                embarking and disembarking in each such port.” Samulov v. Carnival Cruise Lines,

                Inc. 870 So.2d 853 (Fla. 3d DCA 2004).

     23.




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     24. At all times material hereto, it was the duty of Defendant to maintain deck fifteen in a

  reasonably safe condition.

     25. On or about August 29, 2019, Defendant and/or its agents, servants and/or employees

  breached its duty through the following acts and/or omissions:

         a. Failure to adequately and regularly inspect the tendering area on the vessel to

             determine whether there is adequate signage of the change in level and/or step(s);

             and/or

         b. Failure to adequately inspect and/or maintain the subject steps in a reasonably safe

             condition, including, but not limited to, without trip-and-fall hazards; and/or

         c. Failure to promulgate and/or enforce adequate policies and procedures to inspect

             and/or maintain the subject steps in a reasonably safe condition.

     26. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

  injured because Plaintiff’s incident would not have occurred but for Defendant’s failure to

  adequately inspect and/or maintain the subject area.

     27. At all times material hereto, Defendant had exclusive custody and control of the vessel,

  and/or the tender.

     23. At all times material hereto, Defendant knew of the foregoing dangerous conditions

  causing Plaintiff’s incident and did not correct them, or the conditions existed for a sufficient

  length of time so that Defendant, in the exercise of reasonable care under the circumstances,

  should have learned of them and corrected them. This knowledge was or should have been

  acquired through Defendant’s maintenance and/or inspections of the tendering area on the vessel

  and/or through prior incidents involving passengers injured during the transfer process between




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  the tender and the vessel and/or Defendant’s similar vessels using the same tendering process

  and similar tenders.

     24. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

  about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

  of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

  incurred medical expenses in the care and treatment of Plaintiff’s injuries, and suffered physical

  handicap. The injuries are permanent or continuing in nature, and Plaintiff will suffer the losses

  and impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation,

  cruise, and transportation costs. Further, the injuries resulting from his fall are permanent or

  continuing in nature and Plaintiff will suffer these losses and impairments into the future.

         WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

  law against Defendant and demands trial by jury.

              COUNT III – GENERAL NEGLIGENCE AGAINST DEFENDANT

         Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

  one (1) through fourteen (14) as though alleged originally herein.

     25. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

  reasonable care under the circumstances. Applicable to cruise ship tendering operations:

             a. “The extent to which the circumstances surrounding maritime travel are different

                  from those encountered in daily life and involve more danger to the passenger,

                  will determine how high a degree of care is reasonable in each case.” Rainey v.

                  Paquet Cruises, Inc. 709 F.2d 169 (2d Cir. 1983) ; and

             b.    “The law is well settled that a carrier that contracts to take a passenger on a

                  cruise stopping at a designated foreign port has a duty if the vessel anchors in that



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                 harbor to provide him with safe transportation, under adequate supervision, to and

                 from the dock. Because a passenger cruise ship entices people aboard with the

                 promise of stopovers in exotic ports, the ship owner must see to those passengers’

                 safe embarking and disembarking in each such port.” Samulov v. Carnival Cruise

                 Lines, Inc. 870 So.2d 853 (Fla. 3d DCA 2004).

     25.

     26. On or about August 29, 2019, Defendant and/or its agents, servants and/or employees

  breached its duty to provide Plaintiff with reasonable care under the circumstances through the

  following acts and/or omissions:

             a. Failure to provide a safe means of access onto the tender from the vessel; and/or

             b. Failure to provide a safe means of disembarking the vessel; and/or

             c. Failure to adequately secure the tender while passengers and crewmembers are

                 embarking/disembarking; and/or

             d. Failure to provide an adequate gangway between the tender and the vessel; and/or

             e. Failure to provide adequate assistance between the tender and the vessel; and/or

             f. Failure to promulgate and/or enforce adequate policies and procedures so as to

                 provide a safe means of transferring from the vessel to the tender; and/or

             g. Failure to promulgate and/or enforce adequate policies and procedures so as to

                 provide adequate assistance to passengers in transferring from the vessel to the

                 tender; and/or

             h. Failure to provide adequate handrails and/or grips in the tender and/or around the

                 transfer area between the tender and the vessel; and/or

             i. Failure to utilize devices to assist passengers and crewmembers to safely



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                embark/disembark the tender; and/or

            j. Failure to adequately control movement of passengers during the transfer between

                the tender and the vessel to limit movement to times when it was safe; and/or

            k. Conducting transfer of passengers from the vessel to the tender in rough seas;

                and/or

            l. Failure to provide an adequate number of crewmembers to assist passengers and

                other crewmembers in embarking/disembarking the tender; and/or

            m. Failure to instruct passengers and crewmembers on how to embark/disembark the

                tender in a safe manner; and/or

            n. Failure to properly train crewmembers with regard to embarking/disembarking

                the tender in a safe manner and/or safely transporting passengers from ship to

                shore; and/or

            o. Failure       to    properly      supervise        crewmembers      with       regard   to

                embarking/disembarking the tender in a safe manner; and/or

            p. Failure to promulgate and/or enforce adequate policies and/or procedures with

                regard to having passengers and/or crewmembers safely embark/disembark the

                tender and/or safely transporting passengers from ship to shore; and/or

            q. Failure to utilize a reasonably safe flooring surface in light of the anticipated

                traffic on the steps and deck; and/or

            r. Failure to adequately mark the downward steps and/or changes in level so that

                they were readily apparent to the Plaintiff and other passengers and not hidden

                and/or camouflaged; and/or

            s. Failure to use contrasting flooring surfaces so as to make the change in level



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                  and/or step(s) readily apparent to the Plaintiff and other passengers; and/or

              t. Failure to promulgate and/or enforce adequate policies and procedures to ensure

                  that passengers like the Plaintiff are warned of the danger posed by the steps

                  and/or change in level; and/or

              u. Failure to analyze prior trip-and-fall accidents aboard Defendant’s vessels

                  involving steps with the same or similar flooring surface and/or design as the

                  subject steps so as to remedy such hazardous conditions; and/or

              v. Failure to analyze prior trip-and-fall accidents aboard Defendant’s vessels

                  involving unmarked and/or hidden and/or camouflaged steps so as to remedy such

                  hazardous conditions; and/or

              w. Failure to correct hazardous conditions following prior trip-and-fall accidents on

                  the same steps and/or deck; and/or

              x. Failure to provide passengers like the Plaintiff with a reasonably safe stairway

                  and/or walking surface and/or flooring surface; and/or

              y. Failure to adequately inspect and/or maintain the subject steps in a reasonably

                  safe condition, including, but not limited to, without trip-and-fall hazards; and/or

              z. Failure to promulgate and/or enforce adequate policies and procedures to inspect

                  and/or maintain the subject steps in a reasonably safe condition; and/or

              aa. Failure to incorporate applicable standards, including the Americans with

                  Disabilities Act (ADA), to changes in level open to passengers like the Plaintiff.

      27. The above acts and/or omissions caused and/or contributed to the Plaintiff being severely

   injured because Plaintiff’s incident would not have occurred but for such acts and/or omissions.




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      28. At all times material hereto, Defendant knew of the foregoing dangerous conditions

   causing Plaintiff’s incident and did not correct them, or the conditions existed for a sufficient

   length of time so that Defendant, in the exercise of reasonable care under the circumstances,

   should have learned of them and corrected them. This knowledge was or should have been

   acquired through Defendant’s maintenance and/or inspections of the tendering area on the vessel

   and/or through prior incidents involving passengers injured during the transfer process between

   the tender and the vessel and/or Defendant’s similar vessels using the same tendering process

   and similar tenders.

      29. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured

   about Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of enjoyment

   of life, disability, disfigurement, aggravation of any previously existing conditions therefrom,

   incurred medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical

   handicap, lost wages and Plaintiff’s working ability has been impaired.                The injuries are

   permanent or continuing in nature, and Plaintiff will suffer the losses and impairments in the

   future. In addition, Plaintiff lost the benefit of Plaintiff’s vacation, cruise, and transportation

   costs. Further, the injuries resulting from her fall are permanent or continuing in nature and

   Plaintiff will suffer these losses and impairments into the future.

          WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

   law against Defendant and demands trial by jury.

                                                             Respectfully submitted,

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